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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                          )
                                                  )
                      Plaintiff,                  )
                                                  )
       v.                                         )    C.A. No. 22-1466 (MN)
                                                  )
TESLA, INC.,                                      )
                                                  )
                      Defendant.                  )

                    DEFENDANT’S REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1.4, Defendant Tesla, Inc. (“Tesla”) respectfully requests oral

argument before the Court in connection with its motion to dismiss (D.I. 11). Briefing on this

motion was completed on February 13, 2023 with the filing of Tesla’s reply brief (D.I. 16).

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February 21, 2023
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on February

21, 2023, upon the following in the manner indicated:

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